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6/28/2017 11;43 AM
Chris Danie| - District C|erk Harris County
Enve|ope No. 17887495

By: |\/Iarce||a Hi|l
Filed: 6/28/2017 11:43 AN|
CAUSE NO. 2017-42198
DESMOND CALLOWAY, IN THE DISTRICT COURT OF
Plaintiff,
JACOB JAMBON,
Intervenor,

V.
HARRIS COUNTY, TEXAS

PHILLIPS 66 COMPANY,

CHEVRON l\/IIDSTREAM PIPELINES, LLC,
PHILLIPS 66 PARTNERS HOLDINGS, LLC,
PHILLIPS 66 PARTNERS, LP,

PHILLIPS 66 PARTNERS GP LLC, and
PHILLIPS 66 PIPELINE LLC,

llTH JUDICIAL DISTRICT

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Defendants.

INTERVENOR JACOB JAMBON’S
ORIGINAL PETITION IN INTERVENTION AND REOUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

Pursuant to Texas Rule of Civil Procedure 60, Intervenor, Jacob Jambon, files this Original
Petition in Intervention and Request for Disclosure, complaining of the acts and omissions of
Defendants, Phillips 66 Company, Chevron Midstream Pipeline, LLC, Phillips 66 Partners
Holdings LLC, Phillips 66 Partners, LP, Phillips 66 Partners GP, LLC, and Phillips 66 Pipeline
LLC, and respectfully show the Court as folloWs:

I.
DISCOVERY LEVEL

l. Intervenor requests that discovery in this matter be conducted under Level 3 of the

TeXas Rules of Civil Procedure.

EXH|B|T

 

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II.
PARTIES & SERVICE
2. Intervenor, Desmond CalloWay, is a resident of Louisiana.
3. Intervenor, Jacob Jambon, is an individual and resident of Louisiana. He may be

contacted through his undersigned counsel at Zehl & Associates, PC.

4. Defendant, Phillips 66 Company, is a foreign corporation registered to do business
in Texas, conducting a substantial amount of business in Texas on a continuing and systematic
basis, and maintaining its headquarters and principal place of business at 2331 CityWest Blvd.,
Houston, Harris County, TeXas 77042. This defendant is thus a Texas citizen. See 28 U.S.C. §
1332(c)(1). This Defendant may be served through its registered agent, Corporation Service
Company d/b/a CSC-Lavvyers Incorporating Service Company, 211 E. 7th St., Suite 620, Austin,
Texas 78701. Intervenor requests a citation.

5. Defendant Chevron Midstream Pipelines LLC is a foreign limited liability company
that has a principal office in California, is registered to do business in Texas, and conducts a
substantial amount of business in Texas on a continuing and systematic basis. This defendant may
be served through its registered agent Corporation Service Company d/b/a CSC-Lawyers
Incorporating Service Company, 211 E. 7th St., Suite 620, Austin, TeXas 78701. Intervenor
requests a citation.

6. Defendant, Phillips 66 Partners Holdings LLC is a foreign limited liability company
registered to do business in TeXas, conducting a substantial amount of business in Texas on a
continuing and Systematic basis, and maintaining its headquarters and principal place of business
at 2331 CityWest Blvd., Houston, Harris County, Texas 77042. This Defendant may be served
through its registered agent, Corporation Service Company d/b/a CSC-Lavvyers lncorporating

Service Company, 211 E. 7th St., Suite 620, Austin, Texas 78701. lntervenor requests a citation.

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7. Defendant, Phillips 66 Partners, LP, is a foreign limited partnership registered to
do business in Texas, conducting a substantial amount of business in TeXas on a continuing and
systematic basis, and maintaining its headquarters and principal place of business at 2331 CityWest
Blvd., Houston, Harris County, Texas 77042. This defendant may be served With process through
its registered agent, Corporation Service Company d/b/a CSC-Lawyers lncorporating Service
Company, 211 E. 7th St., Suite 620, Austin, TeXas 78701. Intervenor requests a citation.

8. Defendant, Phillips 66 Partners GP, LLC is a foreign limited partnership registered
to do business in Texas, conducting a substantial amount of business in TeXas on a continuing and
systematic basis, and maintaining its headquarters and principal place of business at 2331 CityWest
Blvd., Houston, Harris County, TeXas 77042. This defendant may be served With process through
its registered agent, Corporation Service Company d/b/a CSC-Lawyers Incorporating Service
Company, 211 E. 7th St., Suite 62(), Austin, Texas 78701. lntervenor requests a citation.

9. Defendant, Phillips 66 Pipeline LLC, is a foreign limited liability company
registered to do business in Texas, conducting a substantial amount of business in TeXas on a
continuing and systematic basis, and maintaining its headquarters and principal place of business
at 2331 CityWest Blvd., Houston, Harris County, Texas 77042. This defendant may be served
With process through its registered agent, Corporation Service Company d/b/a CSC-Lawyers
lncorporating Service Company, 211 E. 7th St., Suite 620, Austin, TeXas 78701. Intervenor
requests a citation.

III.
JURISDICTION & VENUE

10. The subject matter in controversy is Within the jurisdictional limits of this eourt.

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11. This court has personal jurisdiction over Defendants because they are licensed to
do business in the State of Texas, conduct business on a regular and systematic basis in the State
of TeXas, are citizens of and/or have principal places of business in the State of Texas.

12. All other jurisdictional prerequisites and conditions precedent to suit have been
met.

13. This action cannot be removed to federal court because one or more of the
Defendants are citizens of the State of Texas, the proper forum. See 28 U.S.C. § 1441(b)(2).

14. Venue is proper in Harris County under section 15.002(a)(1) of the Texas Civil
Practice and Remedies Code because on or more of the Defendants have principal offices in this
county. Further, the State of Texas and the Venue of Harris County are a convenient forum and
venue to all Defendants, maintaining this litigation in this forum and venue Would not Work a
substantial injustice on them, and the interests of justice dictate that this litigation be maintained

in this forum and venue.

IV.
FACTS

15. This case arises out of severe injuries to Intervenor, Jacob Jambon, that resulted
from Defendants’ gross negligence On or about February 9, 2017, lntervenor Was assisting in
“pigging” operations to clean the portion of the Phillips 66 pipeline in or around Paradis, Louisiana
near the Williams Discovery natural gas plant. Suddenly and Without Warning, an explosion
occurred in or around the Work area. This resulted in severe injuries to Intervenor, including severe
burns to much of his body and severe emotional trauma. Intervenor has undergone substantial
necessary medical treatment for these injuries and, in all likelihood, Will continue to require

substantial medical treatment on a continuing basis in the future.

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V.
RESPONDEAT SUPERIOR

16. Intervenor incorporates all other paragraphs by reference here fully.

17. Whenever in this Petition it is alleged that Defendant(s) did or failed to do any
particular act and/or omission, it is meant that Defendant(s), acting individually, or by and through
agents, officers, directors, servants, and employees, either did or failed to do that particular act
and/or omission, in the course and scope of his employment, agency or contract With Defendant(s),
and in furtherance ofDefendant’s(s’) business. Pursuant to Texas Rule of Civil Procedure 28, any
entity doing business under an assumed name may be sued in its assumed name for the purpose of
enforcing against it a substantive right.

18. Therefore, under the doctrine of respondeat superior, Defendant(s) is vicariously
liable for the acts and omissions of its agents, officers, directors, servants, and employees in the

course and scope of their employment, further outlined elsewhere in this petition and incorporated

by reference here fully.
VI.
NEGLIGENCE OF DEFENDANTS
19. Intervenor incorporates all other paragraphs by reference here fully.
20. Intervenor Would show that Defendants had control over the premises,

instrumentality, and/or activity in question, as further described above, and thus had a duty to
exercise the degree of care that a reasonably careful person Would use to avoid harm to others
under circumstances similar to those described herein.

21. The negligent, careless, and reckless disregard and breach of this duty consisted of,
but is not limited to, the following acts and omissions:

a. failing to perform operations in a safe, reasonable, and prudent manner as a
reasonable person Would have under the same or similar circumstances;

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b. failing to maintain, follow, or enforce policies and procedure for safe
operations;
c. failing to adequately warn of or make safe dangers or conditions of which

Defendants had actual knowledge;

d. failing to properly train, supervise, monitor, and retain employees ;

e. failing to provide safe work place for Intervenor;

f. failing to detect that the equipment in question was inadequate and not fit
for use;

g. failing to use ordinary care as a reasonable person would under the same or

similar circumstances;

h. failing to maintain and provide proper, safe equipment;
i. such additional acts of negligence, which will be established as the case
progresses
22. Intervenor’s injuries were proximately caused by Defendant’s negligent, careless

and reckless disregard and breached of these duties.

VII.
GROSS NEGLIGENCE OF DEFENDANTS
23. Intervenor incorporates all other paragraphs by reference here fully.
24. lntervenor alleges that, these acts and omissions, when viewed from the standpoint

of Defendants, involved an extreme degree of risk, considering the probability and magnitude of
the potential harm to Intervenor and others. Defendants had actual, subjective awareness of the
risks of their conduct, but nevertheless proceeded with conscious indifference to the rights, safety,
or welfare of Intervenor and others. Defendants had actual knowledge that it was unreasonably

and extremely dangerous to pig the pipeline that had not been cleared of highly volatile contents.

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Defendants consciously disregarded this extreme risk of harm by requiring lntervenor to work
under these conditions

25. lntervenor further alleges that the injuries and damages that lntervenor sustained in
the incident in question were caused by the gross negligence of Defendants acting by and through
their employees, agents, officers, and representatives in the course of employment for said
Defendants.

26. As such, Defendants are grossly negligent and should be subjected to exemplary

damages.
VIII.
DAMAGES
27. As a direct and proximate result of the accident and negligence described above,

Intervenor sustained the following injuries and damages, which far exceed the minimum jurisdictional

limits of this Court:

a. Reasonable medical care and expenses in the past. These expenses were
incurred by Intervenor for the necessary care and treatment of the injuries
resulting from the accident complained of herein and such charges are
reasonable and were usual and customary charges for such services;

b. Reasonable and necessary medical care and expenses that will, in all
reasonable probability, be incurred in the future;

c. Physical pain and suffering in the past;

d. Physical pain and suffering that will, in all reasonable probability, be
suffered in the inture;

e. Physical impairment in the past;

f. Physical impairment which, in all reasonable probability, will be suffered
in the future;

g. Mental anguish in the past;

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h. Mental anguish which, in all reasonable probability, will be suffered in the
future;

i. Loss of earnings and/or earning capacity in the past;

j. Loss of earning capacity, which, in all probability, will be incurred in the
future;

k. Disfigurement in the past and hiture;

l. Cost of medical monitoring and prevention in the future;

m. Exemplary damages;

n. All other damages to which Intervenors may be justly entitled and that may

be shown through discovery and trial of this case.

IX.
NOTICE OF INTENT TO USE DISCOVERY AT TRIAL

28. Pursuant to Texas Rule of Civil Procedure 193.7, Intervenor hereby gives notice
that he intends to use all discovery instruments produced in this case at trial. Such discovery
instruments include, but are not limited to, all documents Defendants have produced in response
to Intervenor’s written discovery requests and all documents Intervenor has produced in response

to Defendants’ written discovery requests

X.
RULE 47 STATEMENT OF MONETARY RELIEF SOUGHT

29. lntervenor prefers to have the jury determine the fair amount of compensation for
Intervenor’s damages. lt is early in the case to be assessing the full nature and scope of lntervenor’s
injuries, and Intervenor places the decision regarding the amount of compensation to be awarded
in the jury’s hands.

30. Rule 47 of the Texas Rules of Civil Procedure, however, requires Intervenor to

provide a statement regarding the amount of monetary relief sought. Accordingly, Intervenor

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states that monetary relief of over $1,000,000, in amount to be determined by the jury, is being

sought.

XI.
REQUEST FOR DISCLOSURE

31. Pursuant to Texas Rule of Civil Procedure 194, Intervenor hereby requests that

Defendants disclose and produce the information or material described in Rule 194.2(a)-(1).

XII.
JURY TRIAL REQUESTED

32. Intervenors hereby request a jury trial of this matter and has paid the appropriate
jury fee.

XIII.
CONCLUSION & PRAYER

For these reasons, Intervenor respectiiilly prays that the Defendants be cited to appear and
answer herein, and, upon a final hearing of the cause, judgment be entered for the Intervenor
against Defendants for damages in an amount within the jurisdictional limits of the Court; for
exemplary damages; together with pre-judgment interest (from the date of injury through the date
of judgment) at the maximum rate allowed by law; post-judgment interest at the legal rate; costs
of court; and such other and further relief to which the Court determines lntervenor may be entitled

at law or in equity.

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Respectfully submitted,

/s/ Rvan H. Zehl

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ATToRNEYs FoR INTERVENOR,
JACoB JAMBON

CERTIFICATE OF SERVICE

This is to certify that, pursuant to the provisions of the Texas Rule of Civil Procedure
21a, a true and correct copy of the foregoing document has been forwarded to all counsel of

record on this 28th day of June 2017 as follows:

Kurt B. Arnold-via electronic service
Caj D. Boatright

Roland T. Christensen

Alison Baimbridge

ARNoLD & ITKIN LLP

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Houston, Texas 77007

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/s/ Ryan H. Zehl
Ryan H. Zehl

